Case 1:17-cr-20275-UU Document 59 Entered on FLSD Docket 03/06/2019 Page 1 of 2

                            UNITED STATES DISTRICT COPRT

                            SOVT HERN DISTRICT %F FLORIDA
                               Crim No. 17-CR-2-275-UU
                                                                FILED DY                L ù.
                                                                                         ,
 KEVIN FVSCO
      Movant                                                        Ml295 2219
                                                                     ANGEL
                                                                    CL EBKqA
                                                                           JSE.DN0euE
                                                                    :.           I
                                                                                 < CA
 VS
                                                                        :.ori4.-MIAMI


 UNITED STATES OF AMERICA
      Respondent

               MOTION F0R CERTIFIED COPY OF ELECTRONIC DISCOVERY

 Appearing nowy Defendant FVSCO, hereby request the followlng relief:

 1) The United States has agreed to return FUSCO'S personal items, as requested,
 with the exception of h1s cell phone; (I-phone 6)
 2) The United States elected to retain this item, due to the pending Appeal
before the Higher court;

 3) Lacking in this item, Defendant FVSCO is without his full discovery required
 to rppresenkis complete argument ln law;


                                 RELIEF REQDESTED

MOVANT request this court ORDER the United States to produce a certified copy
of h1s cell phone's harddrive, for the purpose of his review and reliance on
h1s appeals process.


Submltted this 28th day of February 2019


Kevin Fusco
Pro Se
Màxwell Air Force Base
Montgomery, AL 36112
*
'
d
            '
            . o' x) 1. N. .'
                           sj
            '
            '.
             %.$. Yj '. 51
             .           j, '
                            j
        ''                                          Case 1:17-cr-20275-UU Document 59 Entered on FLSD Docket 03/06/2019 Page 2 of 2
         c
            'jj
              $u k
                 ;
            , /
              R.
            >   #

        :
        .                                                <œ

        :A.
        .
          t-$
            v l. 1
        . s
          vj, j j              x
    .
    %  JJs
         i ./#
             .'t
                     J; ( . < ' 1
                 f: N;
                     ,
                     .
    .
     b.
      î.
       , ..k';   ;
                 .   t      '     .
                .
                ,$a?
                   .-
                    '(  -tj
                          -j
                           p-
                            .
                            k
                            4
                            .:
                             r:
                              '
                              ,,
                               -.
                                .   )
 y,iy' ?.y .-.
 .             y4 .m
                      t's '
                         *: a:m.' '/I
 , # ? 4                  g<   r'   ,
   9     1.  k    -'  >   .
.. . -
         .9 :  %$ 1, 4:$. ! u
         ,
.  t*         .
              '4
            x ,.                x x
            '
            .
            &
            . &X
               .. *
                  #.9
                    .
                    '
                    4
                    .''i                                              d
                                                                     9 ++*
                    !'    '.       tW
'
.)
 :ë                 .;''
                       !
                       ::
                        ''
                         i'
                          j                                           o
                                   '.,D.J
                    ,,
                    :rG'
'                   t .f           ...W
                          '        .'u'
                                      'u'
                                      i'''
k
.                   pr''
                       x
                       .              .*<                                                                                       &*''
                                                                                                                                   4* N.
.'                  w.w             z
                                    :..: d...
.
.
,.
                     Nel
                                       ;k''
                                       .                                     O                                                     2.
                                                                                                                                    .

f
 '                  2k
                     '
                     R
                      e.Q
                     .1U
                                    '
                                    %
                                    e.
                                       J
                                      x: ik.6
                                            lk           -----   G           z                                                            eAP
                     *-'kh,
                     s
                     n                ....4:
                                      .                               e                                                               1
                     .. .            :.. pr' ,                               I
,                    jpj...C          ,x-
                                        w
                     :47              t.gg
                                      (
                                      .
                     ;
                     uJt
                      !n:             ,e
                                       v'                                    X
k                    Gd)
                     kr
                                      .U                         f
                     ;y....s          ..,.:yy
                                            ;:.:'
11
 !
'.-
19/                  jL
                     ''j..
                       rl
                          .,
                          '
                         u.
                           -
                           F
                          i;.          ,k
                                      ..  :ë
                                           !.
                                            !:
                                             ....                ,
                                                                     W
                                                                     +' J
                                                                                     c
                     u.               ,..j
.                    Yw
                      Av.             ..
                                       %7
                                        .                        t-
y                    .-                a:.p
ê1                    m
                      V'WJ                                       =
    4 v
    j ;
      è
      a.
    )
    .
    l                                                                        Y> N
                                                                      <-     < W          (P
                                                                                          $:
                                                                                           j-
                                                                                     rr   1.
                                                                                           0
                                                                                          f-j
    I                                                                 2                   (ï)
    î                                                            *               f        ..-.1
                                                                      l          d -2      1
                                                                 * '                      ïll
                                                                             &1- kn       (NI
                                                                                          ('1
                                                                 D                   <-
                                                                                          (:)
                                                                                 - f'
                                                                 > '
                                                                                     4-
                                                                  D

    j                                                            e 'O
                                                                     1J o V
    j
    .
    )
    '
    ,
                                                                      -
                                                                             T
                                                                 &
    .
    .       ;= k j
                                                                 tm
    ) G3
            &                       œ                            D
    '
                J
    'h                              w
    )J'                               ->
            cO,                               wo
    ? .-                              OJ N
    ?X                             u
                                   c
    )t
    .
                           . o
                           a
                           c.p :z.              -    J
    )
    %o u
    j    ; -X
    ltwp >
    t 3
         r z=e* '-'              c
                         -+.                        or
    .       lz. xz                              f5/
    ,
    .
    .
                          o
                          .       ..
                                  ,-.
                                    ,.-
                                    - ..
                                       -.
                                        ,.,
                                          '         :
    '
    î <
        E .,-,-0
               -,,-
               ,  ,,,,
                    /-, .
                        -.<
                         $:
                          2
                          2r
                          :2
                           :),x
                           :,
    t
    j .
    4 > w                          #; c
                œ <x. M o
            v w =- s
